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CSD 1099 [07/01/18]
Name, Address, Telephone No. & I.D. No.
M. Douglas Flahaut
555 West Fifth Street, 48th Floor
Los Angeles, CA 90013-1065
213.629.7400
245558 CA

                        UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
            325 West F Street, San Diego, California 92101-6991


In Re
Jesse Wayne Dawber
                                                                                          BANKRUPTCY NO. 18-06044-11



                                                                            Debtor.

                                    BALANCE OF SCHEDULES, STATEMENTS, AND/OR CHAPTER 13 PLAN
        Presented are the original with the number of copies required by CSD 1800 Administrative Procedures of the following [Check
one or more boxes as appropriate]:

            Schedules A/B - J
            Statement of Financial Affairs
            Summary of Schedules (Includes Statistical Summary of Certain Liabilities)
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            Chapter 7 Statement of Current Monthly Income
            Chapter 7 Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
            Chapter 7 Means Test Calculation
            Chapter 11 Statement of Your Current Monthly Income
            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
            Chapter 13 Calculation of Your Disposable Income
            Chapter 13 Plan
            Schedule of Real and/or Personal Property
            Schedule of Property Claimed Exempt
            Creditors Holding Secured Claims by Property
                                                                                        **Please note, this is a refiling of Balance of Schedules
            Creditors Holding Unsecured Priority and/or Non-priority Claims:
                                                                                        [Dkt No. 16] to include the cover sheet, Form CSD
            Schedule of Executory Contracts & Unexpired Leases                          1099. The contents of the Schedules A/B - J, Statement
            Schedule of Co-Debtors                                                      of Financial Affairs, Summary of Assets and Liabilities
                                                                                        and Statistical Information, and Statement of Current
            Income of Individual Debtor(s)                                              Monthly Income remain unchanged.
            Expenses of Individual Debtor(s)
            Expenses for Separate Household of Debtor 2

If additional creditors are added at this time, the following are required:
1.        Electronic media required, see CSD 1007, containing only the added names and addresses (when the Balance of Schedules
          are filed on paper).
2.        Local Form CSD 1101, Notice, Notice to Creditors of This Debtor Added by Amendment or Balance of Schedules. See
          instructions on reverse side.

Dated:       October 24, 2018                                              Signed:    /s/ M. Douglas Flahaut
                                                                                      Attorney for Debtor

           I [We] Jesse Wayne Dawber and             , the debtor(s), hereby declare under penalty of perjury that the information set
forth in the balance of schedules and/or chapter 13 plan attached hereto, consisting of    41    pages, and on the creditor matrix, if
any, is true and correct.
 Dated: October 24, 2018
                                                      *Debtor                                                *Joint Debtor
               *If filed electronically, pursuant to LBR 5005-4(C), the original debtor signature(s) in a scanned format is required.
CSD 1099                                                                                    Refer to Instructions on Reverse Side
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CSD 1099 (Page 2) [07/01/18]
                                                                            INSTRUCTIONS

1.          Local Form CSD 1101, Notice to Creditors of The Above-Named Debtor Added by Amendment or Balance of Schedules, may
            be used to notify any added entity. When applicable, copies of the following notices must accompany the notice: Order for and
            Notice of Section 341(a) Meeting, Discharge of Debtor, Notice of Order Confirming Plan, and Proof of Claim.
2.          If not filed previously and this is an ECF case, the Declaration Re: Electronic Filing of Petition, Schedules & Statements (Local
            Form CSD 1801) must be filed in accordance with LBR 5005-4(c).
3.          If this is a Chapter 11 case, each member of any committee appointed must be served this Balance of Schedules.

                                                                         PROOF OF SERVICE
            I, whose address appears below, certify:
            That I am, and at all relevant times was, more than 18 years of age;
          I served a true copy of this Balance of Schedules and/or Chapter 13 Plan on the following persons listed below by the mod
of service shown below:

1.        To Be Served by the Court via Notice of Electronic Filing (“NEF”):
Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the court via NEF and hyperlink to
the document. On 10/24/2018           , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the e-mail address(es) indicated and/or
as checked below:

Douglas Flahaut on behalf of Debtor Jesse Wayne Dawber
flahaut.douglas@arentfox.com

Todd S. Garan on behalf of Creditor BANK OF AMERICA, N.A.
ch11ecf@aldridgepite.com, tgaran@aldridgepite.com; TSG@ecf.courtdrive.com

David Ortiz on behalf of United States Trustee United States Trustee
david.a.ortiz@usdoj.gov, USTP.REGION15@USDOJ.GOV; tiffany.l.carroll@usdoj.gov;Elizabeth.C.Amorosi@usdoj.gov


            Chapter 7 Trustee:
          For Chpt. 7, 11, & 12 cases:                               For ODD numbered Chapter 13 cases:           For EVEN numbered Chapter 13 cases:


          UNITED STATES TRUSTEE                                      THOMAS H. BILLINGSLEA, JR., TRUSTEE          DAVID L. SKELTON, TRUSTEE
          ustp.region15@usdoj.gov                                    Billingslea@thb.coxatwork.com                admin@ch13.sdcoxmail.com
                                                                                                                  dskelton13@ecf.epiqsystems.com


2.         Served by United States Mail or Overnight Mail:
           On        ,I served the following person(s) and/or entity(ies) at the last known address(es) In this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail via 1) first class, postage prepaid,
2) certified mail with receipt number, addressed as follows:

3.        Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:
          Under Fed.R.Civ.P.5 and controlling LBR, on        , I served the following person(s) and/or entity(ies) by personal delivery, or
(for those who consented in writing to such service method), by facsimile transmission, by overnight delivery, and/or electronic mail as
follows:

            I declare under penalty of perjury under the laws of the United States of America that the statements made in this proof of
            service are true and correct.

Executed on            October 24, 2018                                                    /s/ M. Douglas Flahaut
                                 (Date)                                                    M. Douglas Flahaut
                                                                                           Arent Fox LLP
                                                                                           555 West Fifth Street, 48th Floor
                                                                                           Los Angeles, CA 90013-1065
                                                                                           Address

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                   1   Aram Ordubegian (SBN 185142)
                       M. Douglas Flahaut (SBN 245558)
                   2   Christopher K.S. Wong (SBN 308048)
                       ARENT FOX LLP
                   3   555 West Fifth Street, 48th Floor
                       Los Angeles, CA 90013-1065
                   4   Telephone:    213.629.7400
                       Facsimile:    213.629.7401
                   5   E-mail:       aram.ordubegian@arentfox.com
                                     douglas.flahaut@arentfox.com
                   6                 christopher.wong@arentfox.com

                   7   Proposed General Bankruptcy and Restructuring
                       Attorneys for Debtor and Debtor-in-Possession
                   8
                   9                            UNITED STATES BANKRUPTCY COURT

                10                              SOUTHERN DISTRICT OF CALIFORNIA

                11     In re:                                     Case No. 18-06044-LT11
                12     JESSE WAYNE DAWBER, an                     Chapter 11
                       individual,
                13                                                GLOBAL NOTES AND STATEMENT OF
                                          Debtor and Debtor-in-   LIMITATIONS, METHODOLOGY, AND
                14                        Possession.             DISCLAIMERS REGARDING SCHEDULES AND
                                                                  STATEMENT OF FINANCIAL AFFAIRS
                15
                16
                17
                18
                19        GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND
                           DISCLAIMERS REGARDING THE DEBTOR’S SCHEDULES OF ASSETS AND
                20                LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS
                21              Jesse Wayne Dawber, the above-referenced debtor and debtor in possession (the

                22     “Debtor”), is filing his Schedules of Assets and Liabilities (the “Schedules”) and Statement of

                23     Financial Affairs (the “SOFA”) in the above-captioned case.

                24              These Global Notes and Statements of Limitations, Methodology, and Disclaimers

                25     Regarding the Debtor’s Schedules and SOFA pertain to, are incorporated by reference in, and

                26     comprise an integral part of all of the Debtor’s Schedules and SOFA. They should be referred to,

                27     considered, and reviewed in connection with any review of the Schedules and/or SOFA.

                28              The Schedules and SOFA do not purport to represent financial statements prepared in
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                   1   accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor

                   2   are they intended to be fully reconciled with the financial information of the Debtor.

                   3   Additionally, the Schedules and SOFA contain unaudited information that is subject to further

                   4   review, potential adjustment, and reflect the Debtor’s reasonable efforts to report the assets and

                   5   liabilities of the Debtor.

                   6           The Debtor and his agents, attorneys, and financial advisors do not guarantee or warrant

                   7   the accuracy or completeness of the data that is provided herein and shall not be liable for any

                   8   loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether

                   9   negligent    or   otherwise,    in   procuring,   compiling,   collecting,   interpreting,   reporting,

                10     communicating, or delivering the information contained herein. While reasonable efforts have

                11     been made to provide accurate and complete information herein, inadvertent errors or omissions

                12     may exist.    The Debtor and his agents, attorneys, and financial advisors expressly do not

                13     undertake any obligation to update, modify, revise, or re-categorize the information provided

                14     herein, or to notify any third party should the information be updated, modified, revised, or re-

                15     categorized. In no event shall the Debtor or his agents, attorneys, and financial advisors be liable

                16     to any third party for any direct, indirect, incidental, consequential, or special damages (including,

                17     but not limited to, damages arising from the disallowance of a potential claim against the Debtor),

                18     whether foreseeable or not and however caused, even if the Debtor or his agents, attorneys, and

                19     financial advisors are advised of the possibility of such damages.

                20             The Debtor has signed each of the Schedules and the SOFA. In reviewing and signing the

                21     Schedules and SOFA, the Debtor has relied upon his recollections and information accessible to

                22     him. He has not (and could not have) personally verified the accuracy of each and every statement

                23     and representation contained in the Schedules and SOFA, including statements and

                24     representations concerning amounts owed to creditors, classification of such amounts, and

                25     creditor addresses.

                26                                  Global Notes and Overview of Methodology
                27     1.      Reservation of Rights. Reasonable efforts have been made to prepare and file complete

                28             and accurate Schedules and SOFA; however, inadvertent errors or omissions may exist.
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                   1        The Debtor reserves all rights to (i) amend or supplement the Schedules and/or SOFA

                   2        from time to time, in all respects, as may be necessary or appropriate, including, without

                   3        limitation, the right to amend the Schedules and SOFA with respect to claim description

                   4        or designation; (ii) dispute or otherwise assert offsets or defenses to any claim reflected in

                   5        the Schedules or SOFA as to amount, liability, priority, status or classification; (iii)

                   6        subsequently designate any claim as “disputed,” “contingent,” or “unliquidated;” or object

                   7        to the extent, validity, enforceability, priority, or avoidability of any claim. Any failure to

                   8        designate a claim in the Schedules or SOFA as “disputed,” “contingent,” or

                   9        “unliquidated” does not constitute an admission by Debtor that such claim or amount is

                10          not “disputed,” “contingent,” or “unliquidated.” Listing a claim does not constitute an

                11          admission of liability by the Debtor against which the claim is listed. Furthermore,

                12          nothing contained in the Schedules or SOFA shall constitute a waiver of rights with

                13          respect to th Debtor’s Chapter 11 case, including, without limitation, issues involving

                14          claims, substantive consolidation, defenses, equitable subordination, and/or causes of

                15          action arising under the provisions of Chapter 5 of the Bankruptcy Code and any other

                16          relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation

                17          of rights contained elsewhere in these Global Notes does not limit in any respect the

                18          general reservation of rights contained in this paragraph. Notwithstanding the foregoing,

                19          the Debtor shall not be required to update the Schedules and SOFA except as may be

                20          required by applicable law.

                21     2.   Description of the Case and “As Of” Information Date. On October 8, 2018 (the

                22          “Petition Date”), the Debtor filed his voluntary petition for relief under Chapter 11 of the

                23          Bankruptcy Code. The asset information provided herein represents the best available

                24          asset data as of the Petition Date.

                25     3.   Net Book Value of Assets. Unless otherwise indicated, the asset data contained in the

                26          Schedules and SOFA reflect the best available value as of the Petition Date. Book values

                27          of assets generally do not reflect the current performance of the assets and may differ

                28          materially from the actual fair market value of the underlying assets.
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                   1   4.   Recharacterization. Notwithstanding the Debtor’s efforts to properly characterize,

                   2        classify, categorize, or designate certain claims, assets, executory contracts, unexpired

                   3        leases, and other items reported in the Schedules and SOFA, the Debtor may nevertheless

                   4        have improperly characterized, classified, categorized, designated, or omitted certain

                   5        items. Accordingly, the Debtor reserves all of his rights to re-characterize, reclassify,

                   6        recategorize, redesignate, add, or delete items reported in the Schedules or SOFA at a later

                   7        time as is necessary or appropriate as additional information becomes available, including,

                   8        without limitation, whether contracts or leases listed herein were deemed executory or

                   9        unexpired as of the Petition Date and remain executory and unexpired post-petition.

                10          Disclosure of information in one or more Schedules, one or more SOFA question, or one

                11          or more exhibits or attachments to the Schedules or SOFA, even if incorrectly placed,

                12          shall be deemed to be disclosed in the correct Schedules, SOFA exhibits, or attachments.

                13     5.   Liabilities. The Debtor has sought to allocate liabilities between the pre-petition and post-

                14          petition periods and between Debtor, the Debtor’s spouse, and Non-Debtor entities based

                15          on the information and research conducted in connection with the preparation of the

                16          Schedules and SOFA. As additional information becomes available and further research is

                17          conducted, the allocation of liabilities between the prepetition and post-petition periods

                18          may change. Accordingly, the Debtor reserves all of his rights to amend, supplement, or

                19          otherwise modify his Schedules and SOFA as is necessary or appropriate.

                20          The liabilities listed on the Schedules do not reflect any analysis of claims under section

                21          503(b)(9) of the Bankruptcy Code. Accordingly, the Debtor reserves all rights to dispute

                22          or challenge the validity of any asserted claims under section 503(b)(9) of the Bankruptcy

                23          Code or the characterization of the structure of any such transaction or any document or

                24          instrument related to any creditor’s claim.

                25     6.   Excluded Assets and Liabilities. The Debtor has excluded certain categories of assets

                26          and liabilities from the Schedules and SOFA. In addition, certain immaterial assets and

                27          liabilities may have been excluded.

                28
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                   1   7.    Insiders. For purposes of the Schedules and SOFA, the Debtor defined “insiders”

                   2         pursuant to section 101(31) of the Bankruptcy Code as: (a) relative of the Debtor or of a

                   3         general partner of the Debtor; (b) partnership in which the Debtor is a general partner; (c)

                   4         general partner of the Debtor; or (d) corporation of which the Debtor is a director, officer,

                   5         or person in control. The Debtor does not take any position with respect to whether the

                   6         Debtor or any such insider could successfully argue that he, she or it is not an “insider”

                   7         under applicable law or with respect to any theories of liability or for any other purpose.

                   8   8.    Intellectual Property Rights. Exclusion of any intellectual property shall not be

                   9         construed as an admission that such intellectual property rights have been abandoned,

                10           terminated, assigned, expired, or otherwise transferred pursuant to a sale, acquisition, or

                11           other transaction.

                12     9.    Classifications. Listing (a) a claim on Schedule D as “secured,” (b) a claim on Schedule

                13           E/F as “priority,” (c) a claim on Schedule E/F as “unsecured,” or (d) a contract on

                14           Schedule G as “executory” or “unexpired,” does not constitute an admission by any

                15           Debtor of the legal rights of the claimant or a waiver of any Debtor’s rights to re-

                16           characterize or reclassify such claims or contracts or to setoff of such claims.

                17     10.   Claims Description. Schedules D and E/F permit the Debtor to designate a claim as

                18           “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a claim on the

                19           Schedules and SOFA as “disputed,” “contingent,” or “unliquidated” does not constitute an

                20           admission by any Debtor that such amount is not “disputed,” “contingent,” or

                21           “unliquidated,” or that such claim is not subject to objection. The Debtor reserved all

                22           rights to dispute, or assert offsets or defenses to, any claim reflected on his Statement and

                23           Schedules on any grounds, including liability or classification. Additionally, the Debtor

                24           expressly reserves all of his rights to subsequently designate such claims as “disputed,”

                25           “contingent” or “unliquidated.”         Moreover, listing a claim does not constitute an

                26           admission of liability by the Debtor.

                27     11.   Causes of Action. Despite making reasonable efforts to identify all known assets, the

                28           Debtor may not have listed all of his causes of action or potential causes of action against
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                   1             third-parties as assets in the Schedules and SOFA, including, without limitation, causes of

                   2             actions arising under the provisions of Chapter 5 of the Bankruptcy Code and any other

                   3             relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtor reserves all

                   4             rights with respect to any cause of action (including avoidance actions), controversy, right

                   5             of setoff, cross-claim, counterclaim, or recoupment and any claim on contracts or for

                   6             breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity,

                   7             guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,

                   8             license, and franchise of any kind or character whatsoever, known, unknown, fixed or

                   9             contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,

                10               disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether

                11               arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or

                12               pursuant to any other theory of law (collectively, “Causes of Action”) it may have, and

                13               neither these Global Notes nor the Schedules and SOFA shall be deemed a waiver of any

                14               claims or Causes of Action or in any way prejudice or impair the assertion of such claims

                15               or Causes of Action.

                16     12.       Summary of Significant Reporting Policies. The following is a summary of significant

                17               reporting policies

                18              Undetermined Amounts. The description of an amount as “unknown” is not intended to

                19                      reflect upon the materiality of such amount.

                20                     Totals. All totals that are included in the Schedules and SOFA represent totals of

                21                      all known amounts. To the extent there are unknown or undetermined amounts, the

                22                      actual total maybe different than the listed total.

                23     13.       Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

                24     14.       Global Notes Control. In the event that the Schedules or SOFA differ from any of the

                25               foregoing Global Notes, these Global Notes shall control.

                26
                       END OF GLOBAL NOTES
                27
                28
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Jesse Wayne Dawber
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF CALIFORNIA

 Case number            18-06044-11                                                                                                                          Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        468 Puebla St.
        Street address, if available, or other description
                                                                                      Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Encinitas                         CA        92024-0000                        Land                                       entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                            $1,150,000.00               $1,150,000.00
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Joint tenant
        San Diego                                                                     Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another        Check if this is community property
                                                                                                                                       (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $1,150,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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                                                                                            43
 Debtor 1        Jesse Wayne Dawber                                                                                 Case number (if known)       18-06044-11
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       Toyota                                                                                                   Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Tundra                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2004                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                 141000            Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                    $7,500.00                  $7,500.00
                                                                     (see instructions)



  3.2    Make:       Cadillac                                                                                                 Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Fleetwood                                  Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       1950                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                   28000           Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        non-filing spouse's sole and
        separate property acquired                              Check if this is community property                                  $20,000.00                 $20,000.00
                                                                     (see instructions)
        prior to date of marriage;
        disclosed out of abundance of
        caution


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $27,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    TVs, laptops, appliances, Apple TV, espresso machine, speakers,
                                    furniture , washer and dryer, generator                                                                                         $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
     No
     Yes. Describe.....
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
     Yes. Describe.....
Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1       Jesse Wayne Dawber                                                                Case number (if known)   18-06044-11


                                    Books, art, antiques, records                                                                           $1,900.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes.     Describe.....

                                    Bike, surfboards, skateboards                                                                           $2,000.00


                                    Fishing poles, camping equipment                                                                          $500.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Clothes, shoes, suits                                                                                   $1,200.00


                                    Clothes, shoes, suits (soley non-filing spouse's property)                                              $1,900.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    Jewelry                                                                                                   $200.00


                                    Jewelry (soley non-filing spouse's property)                                                              $750.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                $10,950.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                  Current value of the
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured
                                                                                                                              claims or exemptions.




Official Form 106A/B                                                 Schedule A/B: Property                                                       page 3
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 Debtor 1          Jesse Wayne Dawber                                                                                              Case number (if known)   18-06044-11
16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Checking                               City National Bank                                                        $19,602.66



                                              17.2.       Checking                               Schools First Credit Union                                                 $1,915.95


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                              % of ownership:

                                                  Class War, Inc.                                                                        100          %                     Unknown


                                                  Sketchy Tank, LLC                                                                      100          %                     Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

                                              Simplified Employee                                City National Securities
                                              Pension IRA                                                                                                                 $123,447.77


                                              Simplified Employee                                Northwestern Mutual (soley non-filing
                                              Pension IRA                                        spouse's)                                                                 $10,308.17


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
Official Form 106A/B                                                                      Schedule A/B: Property                                                                page 4
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 Debtor 1       Jesse Wayne Dawber                                                                       Case number (if known)      18-06044-11

     Yes.............          Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

                                              Potential interest in some or all of the intellectual property
                                              described in Exhibit 1.                                                                                Unknown


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                          Beneficiary:                             Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
Official Form 106A/B                                                 Schedule A/B: Property                                                                page 5
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 Debtor 1         Jesse Wayne Dawber                                                                                                    Case number (if known)      18-06044-11

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.       Describe each claim.........

                                                             Counterclaim in Schindler v. Dawber state court case                                                                   $5,581.00


35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                $160,855.55


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                            $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $1,150,000.00
 56. Part 2: Total vehicles, line 5                                                                          $27,500.00
 57. Part 3: Total personal and household items, line 15                                                     $10,950.00
 58. Part 4: Total financial assets, line 36                                                                $160,855.55
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $199,305.55               Copy personal property total                $199,305.55

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $1,349,305.55




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 6
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 Fill in this information to identify your case:

 Debtor 1                Jesse Wayne Dawber
                         First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06044-11
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      468 Puebla St. Encinitas, CA 92024                                                                                         C.C.P. § 704.730
      San Diego County
                                                                     $1,150,000.00                             $100,000.00
      Line from Schedule A/B: 1.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      2004 Toyota Tundra 141000 miles                                   $7,500.00                                               C.C.P. § 704.010
      Line from Schedule A/B: 3.1
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      TVs, laptops, appliances, Apple TV,                               $2,500.00                                               C.C.P. § 704.020
      espresso machine, speakers,
      furniture , washer and dryer,                                                          100% of fair market value, up to
      generator                                                                               any applicable statutory limit
      Line from Schedule A/B: 6.1

      Books, art, antiques, records                                     $1,900.00                                               C.C.P. § 704.020
      Line from Schedule A/B: 8.1
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Bike, surfboards, skateboards                                     $2,000.00                                               C.C.P. § 704.020
      Line from Schedule A/B: 9.1
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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 Debtor 1    Jesse Wayne Dawber                                                                            Case number (if known)     18-06044-11
     Brief description of the property and line on             Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

     Fishing poles, camping equipment                                    $500.00                                                   C.C.P. § 704.020
     Line from Schedule A/B: 9.2
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

     Clothes, shoes, suits                                             $1,200.00                                                   C.C.P. § 704.020
     Line from Schedule A/B: 11.1
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

     Clothes, shoes, suits (soley                                      $1,900.00                                                   C.C.P. § 704.020
     non-filing spouse's property)
     Line from Schedule A/B: 11.2                                                           100% of fair market value, up to
                                                                                             any applicable statutory limit

     Jewelry                                                             $200.00                                                   C.C.P. § 704.040
     Line from Schedule A/B: 12.1
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

     Jewelry (soley non-filing spouse's                                  $750.00                                                   C.C.P. § 704.040
     property)
     Line from Schedule A/B: 12.2                                                           100% of fair market value, up to
                                                                                             any applicable statutory limit

     Simplified Employee Pension IRA:                                $123,447.77                                                   C.C.P. §§ 704.115(a)(3), (b), (e)
     City National Securities
     Line from Schedule A/B: 21.1                                                           100% of fair market value, up to
                                                                                             any applicable statutory limit

     Simplified Employee Pension IRA:                                 $10,308.17                                                   C.C.P. §§ 704.115(a)(3), (b), (e)
     Northwestern Mutual (soley
     non-filing spouse's)                                                                   100% of fair market value, up to
     Line from Schedule A/B: 21.2                                                            any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                           page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Jesse Wayne Dawber
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06044-11
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
 2.1     Bank of America                          Describe the property that secures the claim:               $863,367.27            $1,150,000.00                    $0.00
         Creditor's Name
                                                  468 Puebla St. Encinitas, CA 92024
                                                  San Diego County
                                                  As of the date you file, the claim is: Check all that
         PO Box 31785                             apply.
         Tampa, FL 33631-3785                      Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          8-28-16                   Last 4 digits of account number        2385


   Add the dollar value of your entries in Column A on this page. Write that number here:                               $863,367.27
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $863,367.27

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                  Jesse Wayne Dawber
                           First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                       Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06044-11
 (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

        No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          American Express                                        Last 4 digits of account number         4007                                                      $25,446.05
              Nonpriority Creditor's Name
              PO Box 0001                                             When was the debt incurred?             month to month
              Los Angeles, CA 90096-8000
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Debtor 1 only                                          Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

               No                                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                           credit card debt (in non-filing spouse's
               Yes                                                    Other. Specify     name)




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 3
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 Debtor 1 Jesse Wayne Dawber                                                                             Case number (if known)        18-06044-11

 4.2      Bank of America                                            Last 4 digits of account number       2954                                                $7,762.60
          Nonpriority Creditor's Name
          PO Box 982235                                              When was the debt incurred?           month to month
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          credit card debt (in non-filing spouse's
           Yes                                                       Other. Specify     name)

 4.3      Discover                                                   Last 4 digits of account number       4806                                                $2,191.80
          Nonpriority Creditor's Name
          PO Box 51908                                               When was the debt incurred?           month to month
          Los Angeles, CA 90051-6208
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          credit card debt (in non-filing spouse's
           Yes                                                       Other. Specify     name)

 4.4      Hogan Lovells US LLP                                       Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          c/o Michael Turrill                                        When was the debt incurred?
          1999 Ave of the Stars, Ste1400
          Los Angeles, CA 90067
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     attorney fees




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 3
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                                                                                                                                                                            17
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                                                                                        43
 Debtor 1 Jesse Wayne Dawber                                                                             Case number (if known)        18-06044-11

 4.5       Jack Schindler                                            Last 4 digits of account number                                                      $5,391,041.00
           Nonpriority Creditor's Name
           c/o Vaughn & Vaughn                                       When was the debt incurred?
           501 W. Broadway St., Ste 1770
           San Diego, CA 92101
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a     community
                                                                      Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     breach of contract claim

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                          0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                         6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                          0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                          0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                              here.                                                                                  $               5,426,441.45

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $               5,426,441.45




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 3
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                                                                                                                                                                            18
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                                                                            43
 Fill in this information to identify your case:

 Debtor 1                Jesse Wayne Dawber
                         First Name                         Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06044-11
 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      STFU Global Pte LTD                                                     creative agreement for use of images, artwork, graphics,
              6 Eu Tong Sen Street, Soho 1                                            trade name and trademarks.
              #12-20, Clark Quay Central
              Singapore 59817




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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                                                                                   43
 Fill in this information to identify your case:

 Debtor 1                   Jesse Wayne Dawber
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06044-11
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                     amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                       In which community state or territory did you live?           California      . Fill in the name and current address of that person.
                       Sarah Rose Bryce
                       468 Puebla St.
                       Encinitas, CA 92024
                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Sarah Rose Bryce                                                                      Schedule D, line        2.1
                468 Puebla St.                                                                        Schedule E/F, line
                Encinitas, CA 92024
                                                                                                      Schedule G
                                                                                                     Bank of America



    3.2         Sarah Rose Bryce                                                                      Schedule D, line
                468 Puebla St.                                                                        Schedule E/F, line         4.2
                Encinitas, CA 92024
                                                                                                      Schedule G
                                                                                                     Bank of America




Official Form 106H                                                               Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor 1 Jesse Wayne Dawber                                                           Case number (if known)   18-06044-11


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.3      Sarah Rose Bryce                                                                Schedule D, line
             468 Puebla St.                                                                  Schedule E/F, line      4.3
             Encinitas, CA 92024
                                                                                             Schedule G
                                                                                            Discover



    3.4      Sarah Rose Bryce                                                                Schedule D, line
             468 Puebla St.                                                                  Schedule E/F, line      4.1
             Encinitas, CA 92024
                                                                                             Schedule G
                                                                                            American Express




Official Form 106H                                                      Schedule H: Your Codebtors                                  Page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Jesse Wayne Dawber

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF CALIFORNIA

Case number               18-06044-11                                                                    Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                             Occupation            Artist                                       Digital Strategist
       Include part-time, seasonal, or
       self-employed work.                                         Self-employed - Sketchy Tank
                                             Employer's name       LLC                                          Self-employed
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   468 Puebla St.
                                                                   Encinitas, CA 92024

                                             How long employed there?         4 years                                    1 year

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $         2,750.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $   2,750.00




Official Form 106I                                                      Schedule I: Your Income                                                    page 1

                                                                                                                                                            22
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                                                                        43

Debtor 1    Jesse Wayne Dawber                                                                    Case number (if known)    18-06044-11


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         2,750.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               0.00
      5e.    Insurance                                                                     5e.        $              0.00     $               0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $               0.00
      5g.    Union dues                                                                    5g.        $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        2,750.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      19,000.00        $               0.00
      8b. Interest and dividends                                                           8b.        $           0.00        $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
      8e. Social Security                                                                  8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          19,000.00        $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              19,000.00 + $        2,750.00 = $          21,750.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $          21,750.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2

                                                                                                                                                                23
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                                                                                 43


Fill in this information to identify your case:

Debtor 1                Jesse Wayne Dawber                                                                 Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA                                            MM / DD / YYYY

Case number           18-06044-11
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                            Son                                  4               Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            5,278.88

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                          1,362.02
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            575.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1


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Debtor 1     Jesse Wayne Dawber                                                                        Case number (if known)      18-06044-11

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                700.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                400.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 85.00
      6d. Other. Specify: internet                                                           6d. $                                                 75.00
7.    Food and housekeeping supplies                                                           7. $                                             2,400.00
8.    Childcare and children’s education costs                                                 8. $                                               950.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               900.00
10.   Personal care products and services                                                    10. $                                                  0.00
11.   Medical and dental expenses                                                            11. $                                                500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                               1,248.00
      15c. Vehicle insurance                                                               15c. $                                                 381.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Credit Card Debt                                                17c. $                                                  800.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      16,054.90
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      16,054.90
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              21,750.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             16,054.90

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              5,695.10

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


                                                                                                                                                                      25
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 Fill in this information to identify your case:

 Debtor 1                    Jesse Wayne Dawber
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number              18-06044-11
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X                                                                           X
              Jesse Wayne Dawber                                                        Signature of Debtor 2
              Signature of Debtor 1

              Date          10-22-18                                                    Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Jesse Wayne Dawber
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06044-11
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

        No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                lived there                                                                       lived there
        391 Ocean View Ave                                      From-To:                     Same as Debtor 1                                     Same as Debtor 1
        Encinitas, CA 92024                                     December 2014 -                                                                   From-To:
                                                                September 2016


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

        No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                        $24,750.00          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business
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 Debtor 1      Jesse Wayne Dawber                                                                          Case number (if known)   18-06044-11


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income          Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.      (before deductions
                                                                                    exclusions)                                               and exclusions)

                                                    Wages, commissions,                       $155,000.00          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For last calendar year:                            Wages, commissions,                       $138,000.00          Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

                                                    Wages, commissions,                          $8,685.00         Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                       $172,503.00          Wages, commissions,
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

                                                    Wages, commissions,                         $-2,231.00         Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       No
           Yes. Fill in the details.

                                                  Debtor 1                                                         Debtor 2
                                                  Sources of income                 Gross income from              Sources of income          Gross income
                                                  Describe below.                   each source                    Describe below.            (before deductions
                                                                                    (before deductions and                                    and exclusions)
                                                                                    exclusions)
 For last calendar year:                          Rental real estate,                          $154,464.00
 (January 1 to December 31, 2017 )                royalties,
                                                  partnerships, S
                                                  corporations, trusts,
                                                  etc.

 For the calendar year before that:               Rental real estate,                       $1,458,580.00
 (January 1 to December 31, 2016 )                royalties,
                                                  partnerships, S
                                                  corporations, trusts,
                                                  etc.

                                                  Capital Gain from                             $17,420.00
                                                  Sale of Home




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 Debtor 1      Jesse Wayne Dawber                                                                          Case number (if known)   18-06044-11


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.       Go to line 7.
                      Yes       List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Schindler v. Dawber                                      Civil                       San Diego Superior Court                   Pending
       37-2015-00026810-CU-BT-NC                                                            325 S Melrose Dr.                        On appeal
                                                                                            Vista, CA 92081
                                                                                                                                     Concluded




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 Debtor 1      Jesse Wayne Dawber                                                                          Case number (if known)    18-06044-11


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                      Value of the
                                                                                                                                                           property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
       Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                            insurance claims on line 33 of Schedule A/B: Property.




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 Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
       Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or         Date transfer was
       Address                                                       property transferred                       payments received or debts       made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                           Date Transfer was
                                                                                                                                                 made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was               Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,              before closing or
       Code)                                                                                                            moved, or                           transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                   Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                have it?
                                                                     State and ZIP Code)




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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                            have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                              Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you           Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you           Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                     Status of the
       Case Number                                                   Name                                                                              case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
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                  A partner in a partnership

                  An officer, director, or managing executive of a corporation

                  An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Sketchy Tank, LLC                                       graphic design services                          EIN:
        468 Puebla Street
        Encinitas, CA 92024                                     Gina Piskur                                      From-To      June 2015 - Present

        Class War, Inc                                          distribution company                             EIN:         XX-XXXXXXX
        528 2nd St.
        Encinitas, CA 92024                                     Gina Piskur                                      From-To      May 2015 - Present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        IRS                                                     May 25, 2018 and June 3, 2018
        300 N Los Angeles St,
        Los Angeles, CA 90012

        Vaughn & Vaughn                                         September 6, 2018
        501 W. Broadway St., Ste 1770
        San Diego, CA 92101

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.


 Jesse Wayne Dawber                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      10-22-18                                                      Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:                                            43

  Debtor 1         Jesse Wayne Dawber
                      First Name             Middle Name                      Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name                      Last Name


 United States Bankruptcy Court for the:   Southern        District of   California

  Case number         18-06044-11
  (If known)
                                                                                                                              Check if this is an amended filing



Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                                12/15
You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate sheet
to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).


 Part 1:           Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.


           Not married. Fill out Column A, lines 2-11.
           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.


      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
      case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the
      amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result.
      Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income from that
      property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                             Column A            Column B
                                                                                                             Debtor 1            Debtor 2


 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).                                                                                     $ 0.00                 $
 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                   $   0.00               $
 4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
      roommates. Include regular contributions from a spouse only if Column B is not filled in.              $   0.00               $
      Do not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                         Debtor 1          Debtor 2
    or farm
      Gross receipts (before all deductions)                              $ 18,333          $
      Ordinary and necessary operating expenses                          –$   0.00         –$
                                                                                                      Copy
      Net monthly income from a business, profession, or farm             $ 18,333           $        here       $   18,333     $

 6. Net income from rental and other real property,                      Debtor 1          Debtor 2

      Gross receipts (before all deductions)                              $ 0.00            $
      Ordinary and necessary operating expenses                          –$   0.00         –$
                                                                                                      Copy
      Net monthly income from rental or other real property               $ 0.00            $         here       $   0.00       $


Official Form 122B                                   Chapter 11 Statement of Your Current Monthly Income                                                      page 1

                                                                                                                                    American LegalNet, Inc.
                                                                                                                                    www.FormsWorkFlow.com

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Debtor 1           Jesse Wayne Dawber                                                                                       Case number ( if known)   18-06044-11
                  First Name            Middle Name                   Last Name




                                                                                                                            Column A                      Column B
                                                                                                                            Debtor 1                      Debtor 2


 7. Interest, dividends, and royalties                                                                                      $ 0.00                         $

 8. Unemployment compensation                                                                                               $ 0.00                         $
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ................................

           For you ..........................................................................   $ 0.00

           For your spouse                                                                      $

 9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                 $   0.00                       $

 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism.
     If necessary, list other sources on a separate page and put the total below.

                                                                                                                            $                              $

                                                                                                                            $ 0.00                         $

       Total amounts from separate pages, if any.                                                                       + $ 0.00                          +$


 11. Calculate your total current monthly income.
     Add lines 2 through 10 for each column.                                                                                                          +                          =
     Then add the total for Column A to the total for Column B.                                                             $ 18,333                       $                         $ 18,333

                                                                                                                                                                                     Total current
                                                                                                                                                                                     monthly income




  Part 2:           Sign Below



    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.




                                                                                                    Signature of Debtor 2
Jesse Wayne Dawber
           Date     10-22-18                                                                        Date
                  MM / DD / YYYY                                                                           MM / DD / YYYY




Official Form 122B                                                    Chapter 11 Statement of Your Current Monthly Income                                                                page 2
                                                                                                                                                               American LegalNet, Inc.
                                                                                                                                                               www.FormsWorkFlow.com

                                                                                                                                                                                                  35
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 Fill in this information to identify your case:

 Debtor 1                   Jesse Wayne Dawber
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06044-11
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $          1,150,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $             199,305.55

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $          1,349,305.55

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $             863,367.27

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $          5,426,441.45


                                                                                                                                     Your total liabilities $               6,289,808.72


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $              21,750.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $              16,054.90

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
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                                                                              43
 Debtor 1      Jesse Wayne Dawber                                                         Case number (if known) 18-06044-11

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




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              EXHIBIT 1
          to Schedule A/B -
             Question 26:
         Intellectual Property
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                                                                  Application                  Registration                                                                                                Class
Country Name Literal Mark        Mark Type        Application #   Date          Registration # Date         Publication Date Applicants       Status                         Status Date   Docket #        Numbers     Class Descriptions
                                                                                                                                                                                                                              g,        y, p ,           Clients
                                                                                                                                                                                                                       bottoms, shirts, t-shirts,
                                                                                                                                                                                                                       sweatshirts, hooded
                                                                                                                                                                                                                       sweatshirts, sweatpants,
                                                                                                                                                                                                                       jackets, headwear, socks
                                 Standard                                                                                                                                                                                                                  Class War, Inc.,
USPTO            CLASS WAR       character mark   86955010        3/28/2016                                6/21/2016        Class War, Inc.   Third extension request granted 2/14/2018    20221-T010      025, 035    Online retail store services        Class War, Inc.
                                 Standard                                                                                                                                                  SK20221-T002-               bottoms, shirts,t-shirts,           Class War, Inc.,
Australia (AU)   SKETCHY TANK    character mark   1771506         5/18/2016     1771506      5/5/2017      2/2/2017         Class War, Inc.   AUSTRALIA_REGISTRATION 5/5/2017              AU              025         sweatshirts, hooded                 Class War, Inc.
                                 Standard                                                                                                                                                                              Costumes, namely, tops,             Class War, Inc.,
Brazil (BR)      SKETCHY TANK    character mark   912479353       3/24/2017                                4/11/2017        Class War, Inc.   OPPOSITION_FILED               6/7/2017      20221-T015-BR   025         bottoms, g, t-shirts,y,hoodies, p , Class War, Inc.
                                                                                                                                                                                                                       hooded tops, knit tops, sweat
                                                                                                                                                                                                                       tops, tank tops, short sleeve
                                                                                                                                                                                                                       tops, long sleeve tops,
                                 Standard                                                                                                                                                  150513-TM004-               sweat pants, pants, shirts, t- Class War, Inc.,
Canada (CA)      SKETCHY TANK    character mark   1784495         5/27/2016     TMA984,971   11/15/2017    6/28/2017        Class War, Inc.   CANADA_REGISTERED              11/15/2017    CA              025         shirts, sweatshirts, hooded         Class War, Inc.
                                 Standard                                                                                                                                                                               Clothing; Shirts; T-shirts;        Class War, Inc.,
China (CN)       SKETCHY TANK    character mark   20205626        6/6/2016      20205626     7/28/2017     4/27/2017        Class War, Inc.   CHINA_REGISTRATION    7/28/2017              20221-T001-CN   025          Pants; Jackets [clothing];         Class War, Inc.
                                 Standard                                                                                                     EUROPEAN_UNION_REGIST                                                    bottoms, shirts, t-shirts,          Class War, Inc.,
EUIPO (EM)       SKETCHY TANK    character mark   15452709        5/19/2016     15452709     10/5/2016     6/28/2016        Class War, Inc.   RATION                10/5/2016              20221-T003-EM   025         sweatshirts,
                                                                                                                                                                                                                       [               hooded  p      ]    Class War, Inc.
                                                                                                                                                                                                                       Tops; bottoms; shirts; t-shirts;
                                 Standard                                                                                                                                                                              sweatshirts; hooded                 Class War, Inc.,
Japan (JP)       SKETCHY TANK    character mark   2016-59239      6/1/2016      5942677      4/28/2017     5/30/2017        Class War, Inc.   JAPAN_REGISTRATION             4/28/2017     20221-T005-JP   025         [sweatshirts; sweatpants;]          Class War, Inc.
                                                                                                                                                                                                                        Clothes; underwear; pajamas;
                                 Standard                                                                                                                                                                               sweaters; shirts; suits; coats;
Taiwan (TW)      SKETCHY TANK    character mark   106017281       3/27/2017     1874678      10/16/2017                     Class War, Inc.   TAIWAN_REGISTRATION            10/16/2017    20221-T016-TW   025          jackets;g,sportswear;
                                                                                                                                                                                                                                           y, pshoes;
                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                        bottoms, shirts, jackets,
                                                                                                                                                                                                                        sweat pants, hooded
                                 Standard                                                                                   Jesse Dawber,                                                                               sweatshirts, headwear              Class War, Inc.,
USPTO            SKETCHY TANK    character mark   86595940        4/13/2015     5234648      7/4/2017      4/18/2017        CLASS WAR, INC.   Registered - Principal Register 7/3/2017     20221-T007      025          First use: 1/1/2010                Class War, Inc.
                                                                                                                                                                                                                        Lapel pins
                                                                                                                                                                                                                        First use: 1/1/2014
                                                                                                                                                                                                                        Use in commerce: 1/1/2014

                                                                                                                                                                                                                       Clothing, namely, tops,
                                                                                                                                                                                                                       bottoms, t-shirts, hooded
                                                                                                                                                                                                                       sweatshirts, jackets,
                                                                                                                                                                                                                       headwear
                                                                                                                                                                                                                       First use: 1/1/2010
                                                                                                                                                                                                                       Use in commerce: 1/1/2010

                                 Standard                                                                                                                                                                  014, 025,   Cloth and embroidered             Class War, Inc.,
USPTO            SKETCHY TANK    character mark   87155086        8/30/2016     5367477      1/2/2018      10/17/2017       Class War, Inc.   Registered - Principal Register 1/1/2018     20221-T008      026         patches for clothing              Class War, Inc.
                                                                                                                                                                                                                       Clothing, namely, tops,
                                                                                                                                                                                                                       bottoms, shirts, t-shirts,
                                                                                                                                                                                                                       sweatshirts, hooded
                                                                                                                                                                                                                       sweatshirts, sweatpants,
                                                                                                                                                                                                                       jackets, headwear
                                                                                                                                                                                                                       First use: 1/1/2011               Class War, Inc.,
USPTO            ST and Design   Logotype         86981857        2/2/2016      5188154      4/18/2017     6/21/2016        Class War, Inc.   Registered - Principal Register 4/17/2017    20221-T012      025         Use in commerce: 1/1/2011         Class War, Inc.

                                                                                                                                                                                                                       On-line retail store services
                                                                                                                                                                                                                       featuring clothing, cloth and
                                                                                                                                                                                                                       embroidered patches for
                                                                                                                                                                                                                       clothing, insulating sleeve
                                                                                                                                                                                                                       holders for beverage cans,        Class War, Inc.,
USPTO            ST and Design   Logotype         86894447        2/2/2016                                 6/21/2016        Class War, Inc.   Third extension request granted 2/19/2018    20221-T011      035         lapel pins                        Class War, Inc.




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                                Mark                     Application   Registration Registration   Publication                                                                            Class
Country Name Literal Mark       Type       Application # Date          #            Date           Date          Applicants            Status                Status Date Docket #         Numbers     Class Descriptions                     Clients




                                                                                                                                                                                                      [translated from Portuguese]
                                                                                                                                                                                                      Costumes, namely, tops, bottoms, t-
                                                                                                                 Class War, Inc.,                                                                     shirts, hoodies, jackets, socks,    Class War, Inc., Class
Brazil (BR)   Design of Lurk    Logo       912479515    3/24/2017                                  4/11/2017     LURKING CLASS, LLC FILED                    3/24/2017    20221-T013-BR   025         headgear, articles of headgear      War, Inc.



                                                                                                                                                                                                      [translated from Japanese] Tops;
                                                                                                                                                                                                      bottoms; shirts; t-shirts; sweatshirts;
                                                                                                                                                                                                      hooded sweatshirts; sweatpants;
                                                                                                                 Class War, Inc.,                                                                     jackets; headwear; socks; other         Class War, Inc., Class
Japan (JP)    Design of Lurk    Logo       2016-103888 9/26/2016       5942679      4/28/2017      5/30/2017     LURKING CLASS, LLC JAPAN_REGISTRATION       4/28/2017    20221-T009-JP   025         clothing                                War, Inc.



                                                                                                                                                                                                      [translated from Chinese] Clothes;
                                                                                                                                                                                                      underwear; pajamas; sweaters; shirts;
                                                                                                                                                                                                      suits; coats; jackets; sportswear;
                                                                                                                 Class War, Inc.,                                                                     shoes; scarves; head; towel; bow tie; Class War, Inc., Class
Taiwan (TW)   Design of Lurk    Logo       106017280    3/27/2017      1874677      10/16/2017                   LURKING CLASS, LLC TAIWAN_REGISTRATION      10/16/2017   20221-T014-TW 025           cold hood; hat; socks; belt
                                                                                                                                                                                                      sunglasses                            War, Inc.
                                                                                                                                                                                                      First use: 11/1/2015
                                                                                                                                                                                                      Use in commerce: 3/1/2016

                                                                                                                                                                                                      lapel pins
                                                                                                                                                                                                      First use: 2/1/2014
                                                                                                                 Class War, Inc.,   Registered - Principal                                009, 014,   Use in commerce: 8/1/2014              Class War, Inc., Class
USPTO         Design of Lurk    Logotype   87410319     4/13/2017      5334715      11/14/2017     8/29/2017     LURKING CLASS, LLC Register                 11/13/2017   20221-T017      025, 026                                           War, Inc.




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Country                                                                              Registration                                                                               Class
Name      Literal Mark   Mark Type   Application #   Application Date Registration # Date           Publication Date Applicants       Status         Status Date   Docket #     Numbers    Class Descriptions                    Clients



                                                                                                                                                                                           clothing, namely, tops, bottoms, t-
                                                                                                                                                                                           shirts, hooded sweatshirts,
                                                                                                                                                                                           jackets, headwear, footwear
                                                                                                                                      Approved for
USPTO                    Logomark    87663348        10/27/2017                                     3/13/2018       Sketchy Tank, LLC publication    2/5/2018      20319-T001   025, 042   graphic design services




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